O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                         for the

                                                        Western District of North Carolina

                     United States of America                              )
                                v.                                         )
                                                                           )   Case No:    5:98cr192-4
                        Derrick Ronard Gibbs
                                                                           )   USM No: 13690-058
Date of Previous Judgment:            09/04/2002                           )   Tanzania C. Cannon Eckerle
(Use Date of Last Amended Judgm ent if Applicable)                         )   Defendant’s Attorney


                      Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,

IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                     the last judgment issued) of               months is reduced to                                       .



REASON FOR DECISION:


In the Court's discretion, the sentence of the Defendant will not be reduced due to the violent role of the
Defendant in the conspiracy for which he stands convicted, and also because of his disciplinary citation while in
custody. See 18 U.S.C. § 3553(a)(1) and 18 U.S.C. § 3553(a)(2)(A) and (C).




IT IS SO ORDERED.


                                                                                     Signed: July 29, 2008




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